Case 8:17-cv-02654-Vl\/|C-TBl\/| Document 6 Filed 12/12/17 Page 1 of 2 Page|D 18

,

AFFlDAVlT Oi: SERV|CE

UN|TED STATES DISTR|CT COURT
l\/lidd|e District of F|orida

Case Number; 8:17-CV-2654T33TBl\/l

Plaintiff:
Franklih C°W|ey, ||||||| ||
vs.

AL82017006650

Defendant:
Safe Home Security of Connecticut, lnc. a/k/a Safe Home Security, lnc.,

Fori Kirnber|y De Arcangelis
l\/lorgan & |\/|organl P.A.

Received by ATTORNEYS LEGAL SERV|CES, lNC on the 2nd day of November 2017 at 3: 35 pm to be served on SAFE HOl\/|E
SECUR|TY OF CONNECTICUT, |NC. A/K/A SAFE HQME SECU|RTY, |NC. C/O |NCORP SERVICES |NC., REG|STERED AGENT,
17888 67th Court North, l_o)<ahatchee, FL 33470 l ' _ , ’ ' ‘ , being duly sworn depose and say that on the

_ day of g fé'/ ,20_1 at _/__C"" 3d 1..m executed service by delivering a true copy of the SUl\/ll\/lONS AND COl\/|PLA|NT
& DEMAND FOR JURY TRlAL in accordance_ With state statutes in the manner marked below:

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( )Lll\/l|TED L|ABlL|TY COl\/|PANY/L|l\/||TED PARTNERSHIPZ By Serving as

 

( ) GOVERNMENT AGENCY: By sewing as
( ) NON SERV|CE: Forthe reason detailed in the Cornrnents below.

coiviiviENTs: fir/f l 51 -,<f?¢%‘u/»i{:% .t»,

 

 

 

| certify that l have no interest in the above action, am of legal age and have proper authority in thejurisdiction in Which this service
was made. Under the penalties of perjury, l declare that | have read the foregoing affidavit and that the facts stated in it are true.

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Subscjbe an Sworn to Hbefor)ne' ¢¢@<ay PROCESS SERVER # _
Of / : ée¢/ joy the affi Appointed in accordance With State Statutes
person ||y nown to me .97
/\% ATTORNEYS LEGAL SERV|CES, |NC.
7/“ ' ' `"M / 617 East Washington St.

NO RY P Bi_ic' . _ #2
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y _ -. . H”WL# Or|ando, FL 32801
(soo) 275-8908

 

 

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Our Job Serial Number; 2017006650
E*P"€l 5/18/2019 Rer; 7897006

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Case 8:17-cv-O2654-Vl\/|C-TBl\/| Document 6 Filed 12/12/17 Page 2 of 2 Page|D 19

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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT CoURT

 

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Plal'ntl'jf(s) )

v. § Civil Action No. g.' \ ‘>, c,,'LC-,~Y ‘{ [ 33 ”NV\
sAFE HOME sEcuRiTY OF coNNETicuT, |NC. )
a/k/a sAFE HOME sEcuRiTY, |NC. )
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SUMMONS IN A CIVIL ACTION

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By Serving lt's Registered Agent:
|nCorp Services, lnc.
17388 em court worth
Loxahatchee, FL 33470

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) _ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 ot`
the Federal Rules of Civil Procedure, The answer or motion must be served on the plaintiff or plaintist attorney,

whose name and address are: Kimberly De Arcange"$' Esq_

Morgan & Morgan, P.A.
20 N. Orange Avenue, 14th F|oor
Or|ando, FL 32801

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must tile your answer or motion with the court.

  
   

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Sign(lili/'e rufi(;lerk r))' De/)z;ty C/erk

Date: NUV a 62017

 

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